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        Attorneys for Defendants
  12    NIKON CORPORATION, SENDAI
        NIKON CORPORATION, AND NIKON
  13    INC.
  14
                                   UNITED STATES DISTRICT COURT
  15
                                  CENTRAL DISTRICT OF CALIFORNIA
  16
                                                WESTERN DIVISION
  17
  18    CARL ZEISS AG and ASML                         Case No. 2:17-cv-03221 RGK (MRWx)
        NETHERLANDS, B.V.,
  19                                                   DEFENDANTS’ NOTICE OF
                                Plaintiffs,            MOTION TO DISMISS FIRST
  20                                                   AMENDED COMPLAINT
                v.
  21                                                   Date:        September 25, 2017
        NIKON CORPORATION, SENDAI                      Time:        9:00 a.m.
  22    NIKON CORPORATION, and                         Courtroom:   850, 8th Floor
        NIKON INC.,
  23                                                   Hon. R. Gary Klausner
                                Defendants.
  24
  25
  26                              NOTICE OF MOTION AND MOTION
  27            TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:
  28            PLEASE TAKE NOTICE THAT on September 25, 2017, or as soon
       Defendants’ Ntc. Motion to Dismiss FAC
                                                       1
       Case No.: 2:17-cv-03221 RGK (MRWx)
        sf-3816329
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   1    thereafter as the matter may be heard, in the United States District Court, Central
   2    District of California, Western Division, located at 255 East Temple Street, Los
   3    Angeles, CA 90012, before the Honorable R. Gary Klausner, Defendants Nikon
   4    Corp., Sendai Nikon Corp., and Nikon, Inc. will move, and hereby do move, for an
   5    order dismissing all claims against Sendai Nikon Corp. and all induced and
   6    contributory infringement claims against all Nikon Defendants. This motion is
   7    made pursuant to Federal Rule of Civil Procedure 12(b)(2) and 12(b)(6).
   8            This motion is based on this notice of motion and motion, the supporting
   9    memorandum of points and authorities, the pleadings on file in this action, and on
  10    such other written or oral argument or evidence as may be presented at or before the
  11    time this motion is taken under submission.
  12            This motion is made following the conference of counsel pursuant to Local
  13    Rule 7-3, which took place on August 14 and 16, 2017.
  14
  15    Dated:      August 21, 2017             Respectfully submitted,
  16                                            VINCENT J. BELUSKO
                                                JACK W. LONDEN
  17                                            ROMAN SWOOPES
                                                SHAELYN DAWSON
  18                                            MORRISON & FOERSTER LLP
  19
  20                                            By: /s/ Vincent J. Belusko
                                                      Vincent J. Belusko
  21
                                                Attorneys for Defendants
  22                                            NIKON CORPORATION, SENDAI
                                                NIKON CORPORATION, AND NIKON
  23                                            INC.
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       Defendants’ Ntc. Motion to Dismiss FAC
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